            Case 2:18-cv-01543-JLR Document 234 Filed 06/10/19 Page 1 of 13



 1                                                                     The Honorable James L. Robart
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 8                           UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9

10
        BOMBARDIER, INC.,                                   NO.     2:18-cv-01543-JLR
11
                Plaintiff,                                  DEFENDANTS KEITH AYRE AND
12                                                          MARC-ANTOINE DELARCHE’S
                v.                                          OPPOSITION TO BOMBARDIER
13                                                          INC.’S MOTION TO SEAL THE
        MITSUBISHI AIRCRAFT CORPORATION,                    DECLARATION OF MICHAEL
14
        MITSUBISHI AIRCRAFT CORPORATION                     BORFITZ AND EXHIBITS A, B, F–I,
15      AMERICA INC., AEROSPACE TESTING                     K, AND L TO THE DECLARATION
        ENGINEERING & CERTIFICATION INC.,                   OF JEFFREY DANLEY
16      MICHEL KORWIN-SZYMANOWSKI,
        LAURUS BASSON, MARC-ANTOINE                         NOTED ON MOTION CALENDAR:
17      DELARCHE, CINDY DORNÉVAL, KEITH                     June 14, 2019
        AYRE, AND JOHN AND/OR JANE DOES 1-
18
        88,                                                 ORAL ARGUMENT REQUESTED
19
                Defendants.
20
                                        I.      INTRODUCTION
21
            As noted in our recently filed reply regarding another motion to file under seal, we do
22
     not wish to inconvenience the Court with arguments regarding the merits of Bombardier’s trade
23
     secret claims. For the most part, those claims are properly resolved on summary judgment or at
24
     trial. But no fact development or further analysis is necessary to resolve, and to reject,
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     Bombardier’s claims that the documents at issue here must be sealed. On their face these
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     documents disclose that, with at most one exception, they merely cite or quote from publicly
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      DELARCHE’S OPPOSITION TO BOMBARDIER’S MOTION                        1425 Fourth Avenue Suite 800
      TO SEAL - 1                                                        Seattle, Washington 98101-2272
      No. 2:18-cv-01543-JLR                                                       (206) 749-0500
            Case 2:18-cv-01543-JLR Document 234 Filed 06/10/19 Page 2 of 13



 1   available and easily accessible regulatory guidance that by its nature is confidential to no one.

 2   The one possible exception is a third-party vendor’s specification document that conceivably

 3   might be proprietary to that third party, but is indisputably not Bombardier’s own trade secret.

 4          By redacting and designating information as its own trade secret that in fact is available

 5   to the public, Bombardier makes communications that would be innocent if revealed appear

 6   instead to be nefarious. And in the process it creates unnecessary motion practice that distracts

 7   the parties and the Court from the real issues in this case. We submit that the documents that

 8   are subject to Bombardier’s instant motion to seal should be either unsealed or stricken from

 9   the record, and urge the Court to deny the motion for the reasons set forth herein.

10                                  II.     STATEMENT OF FACTS
11          In response to the Court’s May 1, 2019 order (ECF No. 144), Bombardier filed an
12   Updated Motion for Preliminary Injunction against MITAC, Keith Ayre, and Marc-Antoine
13   Delarche (ECF No. 146, hereafter the “Injunction Motion”). Defendants Ayre and Delarche
14   opposed the Injunction Motion on May 13 (ECF No. 185 [re-filed redacted version], No. 187
15   [re-filed sealed version], hereafter the “Injunction Opposition”), and Bombardier filed its reply
16   on May 17 (ECF No. 192, hereafter “Injunction Reply”). Along with its Injunction Reply,
17   Bombardier filed the redacted Declaration of Michael Borfitz (ECF No. 197) and the
18   Declaration of Jeffrey E. Danley along with twelve associated exhibits, eight of which
19   contained some level of redaction (ECF No. 196). At that time, Bombardier did not serve
20   unredacted copies of the eight exhibits on Defendants Ayre and Delarche, or the other
21   defendants, nor did it indicate that it planned to file unredacted versions.
22          On May 22, Defendants Ayre and Delarche filed a surreply to strike the Danley
23   Exhibits and the Borfitz Declaration. (ECF No. 213.) The next day Bombardier’s counsel
24   stated that Bombardier planned to move to file under seal unredacted versions of the Danley
25   Exhibits and the Borfitz Declaration. Bombardier filed its Motion to File Under Seal (ECF
26   No. 215, hereafter the “Motion to Seal” or “Mot.”) and also filed under seal unredacted copies
27   of the Borfitz Declaration (ECF No. 217) and the eight redacted Danley Exhibits (ECF
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      No. 2:18-cv-01543-JLR                                                        (206) 749-0500
            Case 2:18-cv-01543-JLR Document 234 Filed 06/10/19 Page 3 of 13



 1   No. 216). Bombardier served unredacted copies of those sealed filings on counsel for the

 2   MITAC and MITAC America and counsel for the AeroTEC defendants, but not on counsel for

 3   Defendants Ayre and Delarche.

 4                                          III.    ARGUMENT
 5          None of the documents subject to Bombardier’s Motion to Seal should be kept from the
 6   public. Bombardier has not followed this District’s local rules for sealing, it has not attempted
 7   to satisfy the Ninth Circuit’s controlling standard for sealing, and the documents it wishes to
 8   seal do not in fact satisfy that standard or any other definition of confidentiality.
 9   A.     Bombardier Has Not Attempted to Satisfy This District’s Local Civil Rules or the
            Ninth Circuit’s “Compelling Reason” Standard
10
            This District’s and the Ninth Circuit’s requirements for filing papers in support of a
11
     dispositive motion are set forth in Defendants Ayre and Delarche’s reply regarding the motion
12
     to seal portions of the Injunction Opposition and the Ayre Declaration. (ECF No. 231, at 2:12–
13
     25.) Contrary to those clear requirements, Bombardier has not provided a specific statement of
14
     the reasons for keeping the Danley Exhibits and the Borfitz Declaration under seal. See LCR
15
     5(g)(3)(B). There is nothing specific about its assertion that the documents Bombardier wishes
16
     to seal “either contain or describe Bombardier confidential and/or proprietary trade secret
17
     information that is the subject of this trade secret misappropriation suit.” (Mot. at 3:14–16.)
18
     Likewise, the Motion to Seal lumps together six of the Danley Exhibits—emails Mr. Ayre
19
     allegedly sent from his work email address to his personal email address—and asserts that they
20
     “disclose and describe Bombardier confidential and/or trade secret information.” (Id. at 3:24–
21
     26.) Such vague contentions are not sufficient under Local Civil Rule 5(g).
22
            Nor do such statements come close to satisfying the controlling Ninth Circuit standard,
23
     under which the proponent of sealing is “required to present ‘articulable facts’ identifying the
24
     interests favoring continued secrecy, and to show that these specific interests overc[o]me the
25
     presumption of access by outweighing the ‘public interest in understanding the judicial
26
     process.’” Kamakana v. City & County of Honolulu, 447 F.3d 1172, 1181 (9th Cir. 2006),
27

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      No. 2:18-cv-01543-JLR                                                         (206) 749-0500
            Case 2:18-cv-01543-JLR Document 234 Filed 06/10/19 Page 4 of 13



 1   quoting Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1136 (9th Cir. 2003) (internal

 2   citation omitted). There are no such articulable facts in the Motion to Seal.

 3          Nor does the Borfitz Declaration support sealing. For the most part, that declaration

 4   attempts to connect certain of the Danley Exhibits to Mr. Ayre’s draft statement of work for a

 5   potential position at MITAC. (Cf. FAC Ex. S, at 5–6.) For some, but not all, of those exhibits,

 6   Mr. Borfitz also asserts that certain information an exhibit contains would be value to a

 7   Bombardier competitor. None of these statements are supported.

 8   B.     On Their Face, None of the Danley Exhibits, or the Borfitz Declaration, Should Be
            Sealed
 9
            The information Bombardier wishes to seal from the Danley Exhibits and the Borfitz
10
     Declaration is either publicly available or not confidential to Bombardier, as described below.
11
     Plaintiff’s two-and-one-half-page Motion to Seal does not attempt to explain why such public
12
     or third-party information should be sealed from public view.
13
            In other filings with the Court, Bombardier has taken the position that otherwise publicly
14
     available information can be filed under seal in this case because “[t]his Court has recognized
15
     that ‘a trade secret may consist of data, public sources or a combination of proprietary and
16
     public sources.’” (ECF No. 227, at 3:25–27, quoting ECF No. 111, at 9, 15.) The Court quoted
17
     the foregoing language from the Ninth Circuit’s decision in United States v. Nosal, 844 F.3d
18
     1024, 1042 (9th Cir. 2016). (ECF No. 111, at 9:19–10:1.) The Ninth Circuit observed in that
19
     case that “[i]t is well recognized that it is the secrecy of the claimed trade secret as a whole that
20
     is determinative.” Nosal, 844 F.3d at 1042, quoting RESTATEMENT (THIRD) OF UNFAIR
21
     COMPETITION § 39 cmt. f (1995). The “compilation” doctrine is thus inapplicable to any
22
     individual, publicly available item that may be part of the compilation; it is the compilation “as
23
     a whole” that can be a trade secret—if and provided that it meets the requisites required of such
24
     compilations—not individual components when not part of that whole.
25
            Further, even if the separate, publicly available item did become secret by being part of
26
     a secret compilation, Bombardier here has not articulated what secret compilation any
27

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      No. 2:18-cv-01543-JLR                                                        (206) 749-0500
             Case 2:18-cv-01543-JLR Document 234 Filed 06/10/19 Page 5 of 13



 1   particular publicly available document is a part of or explained how such compilation is unique

 2   or how it was compiled, nor has Bombardier provided any of the other information necessary to

 3   make a trade secret claim based on a compilation theory.

 4            While Bombardier’s Motion to Seal is not the occasion to litigate the merits of

 5   Bombardier’s underlying trade secret claims, this District’s local rules require some

 6   explanation of the legitimate private or public interests that warrant sealing. LCR 5(g)(3)(B).

 7   Where, as here, the plaintiff grounds its motion to seal on a claim that the material in question

 8   constitutes a trade secret, it must make some showing beyond mere ipse dixit, otherwise the

 9   District’s rules and the Ninth Circuit’s precedent mean nothing. But Bombardier has declined

10   to make anything beyond conclusory arguments. Moreover, the Court need not hold a mini-

11   trial to decide that the Danley Exhibits and the Borfitz Declaration are not properly sealed:

12   those materials on their face disclose that they cannot be Bombardier’s trade secrets.

13            1.      Exhibit A: 2013 email from Transport Canada.
14            Nothing in this email is confidential to Bombardier, let alone a trade secret. Plaintiff
15   seeks to seal from public view information that itself has disclosed in this litigation, the identity
16   of a publicly available and easily locatable FAA regulatory guidance, and the names of
17   products manufactured by third parties. There is no legitimate interest warranting the
18   redactions made to this email, and Bombardier cannot show that any injury will result from
19   unsealing the unredacted version.1
20             Much of the redacted and sealed information in this email is actually revealed and
21   stated in Bombardier’s own public filings in this case. For instance, the face of the redacted
22   2013 email states: “[REDACTED] guidance does allow for the use of other acceptable
23   [REDACTED] to those that are specifically identified in the AC.” (Redacted Ex. A.) “[T]he
24

25

26   1
       Exhibit A is the same email that is heavily redacted in Exhibit S to the FAC and discussed in the Injunction
     Opposition (at 5:9–6:6, 16:3–21, 18:6–8), and the reply regarding the motion to seal the Injunction Opposition and
27   the Ayre Declaration (ECF No. 231, at 3–6).
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         No. 2:18-cv-01543-JLR                                                              (206) 749-0500
             Case 2:18-cv-01543-JLR Document 234 Filed 06/10/19 Page 6 of 13



 1   AC” refers to a particular FAA advisory circular, which is publicly available on the FAA’s

 2   website. (Injunction Opposition [filed under seal: ECF No. 187], at 5:15–16 & n.1.) 2

 3            Bombardier also discloses in its FAC that the referenced email “concern[s] smoke

 4   penetration testing for Bombardier aircraft” (FAC ¶ 77), a description of the email that appears

 5   repeatedly in Bombardier’s public filings (e.g., ECF No. 146, at 6:11; No. 228, at 4:17–18).

 6   But Bombardier has redacted the phrase “smoke penetration testing” from Exhibit A every time

 7   it appears. Bombardier also redacts from Exhibit A every mention of the type of equipment

 8   being discussed, so Bombardier apparently views the type of equipment that is used in smoke-

 9   penetration testing and which is explicitly discussed in the FAA’s 1994 advisory circular not

10   only to be a trade secret, but somehow to be its trade secret. Indeed, the name of one of the two

11   models of that equipment mentioned in the email is contained in that advisory circular, but

12   Bombardier redacts that information too. Even the brand and model of the equipment

13   Bombardier proposes using in the alternative to that mentioned in the advisory circular is not

14   Bombardier’s trade secret. Does Bombardier truly claim as secret the identity of equipment it

15   uses in safety testing? Bombardier has not attempted to show that the rest of the industry does

16   not already use this same equipment, much less that it doesn’t know of it.

17            Indeed, Bombardier even wishes to keep secret the identity of the FAA’s publicly

18   available regulatory guidance, which is cited in the unredacted Exhibit A. Bombardier

19   contends in one of its other filings that it does not matter that the cited FAA guidance is 25

20   years old and publicly available, because it is part of a trade secret compilation. (ECF No. 227,

21   at 3:25–27.) As set forth above, this doctrine does not apply to a single regulatory guidance,

22   discussed in isolation. There is no identifiable “compilation” here.

23

24
     2
       Bombardier implies in its Response regarding the motion to seal the Injunction Opposition and the Ayre
25   Declaration that it inadvertently made the discussed disclosures in its own public filings. (ECF No. 227, at 3:13–
     17.) This should be disregarded, not least because Bombarder has failed to address the purported inadvertent
26   disclosure. If Bombardier views its publicly filed descriptions of redacted portions of the 2013 email as
     inadvertent disclosures of its trade secret information, then it should have moved to seal all of its previous public
27   filings containing those “inadvertent disclosures.” It has not done so.
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         No. 2:18-cv-01543-JLR                                                                 (206) 749-0500
               Case 2:18-cv-01543-JLR Document 234 Filed 06/10/19 Page 7 of 13



 1              Furthermore, a trade secret must be both “not… generally known” and “not… readily

 2   ascertainable by proper means.” 18 U.S.C. § 1839(3)(B). It is readily ascertainable that to

 3   certify its aircraft Bombardier relied on at least Part 25 of the Federal Aviation Regulations (14

 4   C.F.R. Part 25)3—which contains airworthiness standards for transport category aircraft (FAC

 5   ¶ 34)—and the FAA’s advisory circulars regarding those regulations,4 all of which have an

 6   “AC number” beginning with “25-”, just like the advisory circular that Bombardier contends is

 7   its trade secret. Relatedly, the identity of that advisory circular can be “reverse engineered,” 18

 8   U.S.C. § 1839(6)(B), from Bombardier’s own public descriptions of this email by typing “faa

 9   smoke penetration regulations” into an internet search engine. The ease with which this

10   information can be identified shows not only that it is not Bombardier’s trade secret, but also

11   that its disclosure could not possibly injure Bombardier.

12              Indeed, the Motion to Seal hardly bothers to argue why this email should be sealed. It

13   just applies to this exhibit the same “confidential and/or trade secret information” assertion it

14   applies to all of the documents subject to the Motion. Concerning this exhibit, the Borfitz

15   Declaration states that “[d]ialogue such as this between a regulatory agency official and an

16   aircraft company, discussing particular steps that may or may not be taken to ensure

17   compliance with regulations, is typically treated as confidential and it is generally understood

18   on both sides that the information will not be disclosed or otherwise disseminated.” (Borfitz

19   Decl. ¶ 12.) This assertion is not tied to this particular email, nor does it address that this email

20   is now almost six years old. Mr. Borfitz’s conclusory assertion that the email would “provide

21   valuable information for other potential competitors of Bombardier” is not explained. (Id.)

22              2.      Exhibit B: FAA website search results.
23              Bombardier apparently redacted the FAA website search results because they reflect the
24   brand or model name of the equipment discussed in the 2013 Transport Canada email. (See
25

26
     3
         < https://www.govinfo.gov/app/details/CFR-2018-title14-vol1/CFR-2018-title14-vol1-part25>
27   4
         <https://www.faa.gov/regulations_policies/advisory_circulars/index.cfm/go/document.list/parentTopicID/105>
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         No. 2:18-cv-01543-JLR                                                              (206) 749-0500
             Case 2:18-cv-01543-JLR Document 234 Filed 06/10/19 Page 8 of 13



 1   ECF No. 192, at 3:11–15.) For the same reasons Exhibit A should not be sealed, neither should

 2   Exhibit B.

 3            3.      Exhibit F: 2014 “Ducted Smoke Det Spec” email.
 4            Like Exhibit A, Exhibit F cannot be considered a trade secret “compilation,” because it
 5   is an email attaching a single document created by a third party and describing that third party’s
 6   product. That document conceivably could be confidential to the third party, but not to
 7   Bombardier.
 8            The redacted version of the 2014 email in Exhibit F shows that the email attaches a PDF
 9   file named <R-7748_-G Ducted Smoke Det_Soft Reqt Spec.pdf>. The PDF attachment is a 41-
10   page-long document, all of which is redacted from the publicly filed version of the exhibit.
11   That document, which has a 2010 copyright date, is titled “R-7748 / Software Requirements
12   Specifications (SRS) / Model [         ] Ducted Smoke Detector,” all of which is indicated by the
13   unredacted file name of the PDF.5 The document was created and published by the third-party
14   vendor that manufactures the smoke detector described in the document. The email itself
15   contains an image of a portion of that PDF, which is redacted from the publicly filed version of
16   the exhibit. The information in the image appears on page 29 of 41 of the PDF document.
17            This third party’s specification document, existing by itself and not even arguably as a
18   “compilation,” is not Bombardier’s trade secret or otherwise confidential or proprietary to
19   Bombardier. See Nosal, 844 F.3d at 1042. The only reason to file it under seal would be to
20   protect the third party’s confidential information. But since Bombardier does not mention the
21   Software Requirements Specifications document in its Reply, there is no reason for it to have
22   been filed in the first place. Exhibit F should be unsealed, or stricken from the record.
23            4.      Exhibit G: “SSA analysis” email.
24            This exhibit, which is almost entirely redacted, appears based on its “sent” time to be
25   the same email MITAC submitted in unredacted form as Exhibit C to the Riedinger
26
     5
      We leave out the manufacturer and model number of the smoke detector in order to not disclose information that
27   Bombardier may, however incorrectly, consider confidential.
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         No. 2:18-cv-01543-JLR                                                            (206) 749-0500
            Case 2:18-cv-01543-JLR Document 234 Filed 06/10/19 Page 9 of 13



 1   Declaration. Exhibit G was referred to in Bombardier’s FAC (¶ 79) and in its Injunction

 2   Motion (at 6:12–13). In order for information to receive statutory trade secret protection, the

 3   proponent must show that it has “taken reasonable measures to keep such information secret.”

 4   18 U.S.C. § 1839(3)(A).

 5          As set forth in the May 13 Riedinger Declaration (ECF No. 166 ¶¶ 3, 4 & Ex. B) and

 6   the May 31 Riedinger Declaration (ECF No. 224, including its exhibits), Bombardier disclosed

 7   this email to counsel for MITAC without any confidentiality designation, despite the fact that

 8   on its face it is a document that describes a Bombardier aircraft. Bombardier has not stated

 9   what, if anything, it did to determine whether this email contained its own trade secrets before

10   it disclosed it to opposing counsel without any confidentiality designation. Such nonchalance

11   is incompatible with the claim that this document contains any Bombardier trade secret. And

12   Bombardier’s backpedaling now to assert “attorneys’ eyes only” protection over the document

13   is an abuse of the stipulated protective order.

14          Moreover, Bombardier’s Motion to Seal does not state what information in this

15   Exhibit G it argues is its trade secret. But based on its redactions, Bombardier apparently

16   believes every word in the email qualifies for trade secret protection, including the name

17   “Frederic,” which Bombardier disclosed in its own pleading. (FAC ¶ 79.) Such over-redaction

18   flouts Local Rule 5(g)’s direction that parties minimize filings under seal.

19          5.      Exhibit H: “Supplier CID” email.
20          As with Exhibit A, the information redacted from this exhibit is publicly available and
21   not arguably part of any secret compilation. This exhibit is a forwarded October 15, 2015
22   email from Damien Toulouse to Mr. Ayre and two other people, all apparently Bombardier
23   employees. The copy of this exhibit that Bombardier filed on the public docket for this case
24   contains a large block redaction. A portion of that redaction is what appears to be an image
25   that was pasted into the email. The image states requirements for “CIDs,” and it contains what
26   appears to be an identification code associated with those requirements. An internet search for
27   that code returns, as the first result, a Wikipedia article describing guidance issued by SAE
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      No. 2:18-cv-01543-JLR                                                       (206) 749-0500
               Case 2:18-cv-01543-JLR Document 234 Filed 06/10/19 Page 10 of 13



 1   International, which is a U.S.-based professional association and standards developing

 2   organization for engineering professionals in various industries, including aerospace. The

 3   Wikipedia article contains a link to SAE International’s website, where the referenced guidance

 4   is available for sale to the general public. The Wikipedia article also states that the FAA

 5   recognized this guidance in an advisory circular published in 2011, and gives that guidance’s

 6   “AC” number. A search for that number on the FAA’s website6 returns the publicly available

 7   copy of the referenced advisory circular. Thus, for the same reasons Exhibit A is not properly

 8   filed under seal, neither is Exhibit H.

 9              6.      Exhibit I: Keith Ayre email log.
10              On page 1 of 17 of this document, Bombardier has redacted part of the subject of the
11   forwarded 2013 Transport Canada email contained in Exhibit A, described above. For the
12   same reasons Exhibit A should not be sealed, neither should Exhibit I.
13              7.      Exhibit K: “Technical Knowledge gaps” email.
14              The unredacted portions of this exhibit show that it is an email chain between Mr. Ayre
15   and another Bombardier engineer, Danilo Verrelli, from March and June 2015. Mr. Ayre had
16   requested that Mr. Verrelli and certain other senior engineers at Bombardier identify gaps in
17   knowledge at Bombardier “in the Pneumatics knowledge domain.” (Ex. K, at 3.) According to
18   the Borfitz Declaration, the redacted portions of the exhibit “identifies specific gaps in
19   knowledge and experience” at Bombardier, “such as understanding leak detection within
20   pneumatic systems.” (Borfitz Decl. ¶ 8.) Bombardier’s Motion to Seal gives no reason why
21   the existence of knowledge gaps at Bombardier is a trade secret. Mr. Borfitz states in his
22   declaration that “[c]ompetitors could use that information to target specific individuals for
23   hiring and capitalize on recruitment efforts within a limited pool of qualified engineers.” (Id.)
24   This makes little sense: Neither Mr. Borfitz nor Bombardier describes how a competitor’s
25

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27   6
         <https://www.faa.gov/regulations_policies/advisory_circulars/index.cfm/>
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         No. 2:18-cv-01543-JLR                                                               (206) 749-0500
              Case 2:18-cv-01543-JLR Document 234 Filed 06/10/19 Page 11 of 13



 1   having information about gaps in knowledge at Bombardier would help that competitor’s own

 2   recruiting efforts or otherwise provide it with value.

 3              8.      Exhibit L: “FAA Policy” email.
 4              Like Exhibits A and H, Exhibit L is another example of Bombardier’s redaction of
 5   publicly available information to give it the aura of confidentiality. Indeed, nearly the entirety
 6   of Exhibit L is redacted. The last line of the email above the signature block contains what
 7   appears to be an identification code, which has been redacted from the publicly filed exhibit.
 8   An internet search for that code returns, as the first result, a PDF of a 2006 FAA memorandum,
 9   posted on the FAA’s website.7 This memorandum has a “Memo No.” that is identical to the
10   identification code in Exhibit L. The unredacted Exhibit L contains language in red under the
11   line that starts, “This is what we will be fighting against.” That language in red appears,
12   exactly and in full, in the above-referenced 2006 FAA memorandum at page 7. The language
13   of government regulations and the publicly available documents concerning them cannot,
14   standing alone, be anyone’s trade secret and have no business being filed under seal.
15                                              IV.      CONCLUSION
16              For the reasons set forth herein, the unredacted Borfitz Declaration (ECF No. 217) and
17   all of the unredacted Danley Exhibits (ECF No. 216) should be unsealed or stricken from the
18   record.
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         <http://rgl.faa.gov/Regulatory_and_Guidance_Library/rgPolicy.nsf/>
         DEFENDANTS KEITH AYRE AND MARC-ANTOINE                                SAVITT BRUCE & WILLEY LLP
         DELARCHE’S OPPOSITION TO BOMBARDIER’S MOTION                          1425 Fourth Avenue Suite 800
         TO SEAL - 11                                                         Seattle, Washington 98101-2272
         No. 2:18-cv-01543-JLR                                                         (206) 749-0500
         Case 2:18-cv-01543-JLR Document 234 Filed 06/10/19 Page 12 of 13



 1         DATED: June 10, 2019.
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                                   SAVITT BRUCE & WILLEY LLP
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           Case 2:18-cv-01543-JLR Document 234 Filed 06/10/19 Page 13 of 13



 1                                    CERTIFICATE OF SERVICE

 2          The undersigned hereby certifies that on June 10, 2019 I electronically filed the

 3   foregoing document with the Clerk of Court using the CM/ECF system which will send

 4   notification of such filing to all counsel of record.

 5          I declare under penalty of perjury under the laws of the United States of America that

 6   the foregoing is true and correct.

 7          Dated this 10th day of June, 2019 at Seattle, Washington.

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                                                                         SAVITT BRUCE & WILLEY LLP
      CERTIFICATE OF SERVICE
                                                                         1425 Fourth Avenue Suite 800
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                                                                        Seattle, Washington 98101-2272
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